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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ERIK GARCIA,                                        )
                                                    )
                      Plaintiff,                    )
                                                    )       CIVIL ACTION
vs.                                                 )
                                                    )       FILE No. 4:20-CV-00786
ARTCP, LLC,                                         )
                                                    )
                      Defendant.                    )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff, ERIK GARCIA (“Plaintiff”) and Defendant, ARTCP, LLC (“Defendant”), by and

through undersigned counsel and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, hereby jointly stipulate to the dismissal of Defendant, ARTCP, LLC, and this entire

Action with prejudice. Each party to bear their own fees and costs.

      Respectfully submitted this 22nd day of July, 2020.



                                             Law Offices of
                                             THE SCHAPIRO LAW GROUP, P.L.

                                             /s/ Douglas S. Schapiro
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     Case 4:20-cv-00786 Document 12 Filed on 07/22/20 in TXSD Page 2 of 2




                                          /s/ Ruth M. Willars________________
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                                          Attorney for Defendant




                              CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 22nd day of July, 2020, we electronically filed the

forgoing with the Clerk of the Court by using the CM/ECF system.


                                          /s/ Douglas S. Schapiro
                                          Douglas S. Schapiro
                                          Southern District of Texas ID No. 3182479
